   Case 1:21-cv-00184-MW-GRJ Document 31 Filed 12/03/21 Page 1 of 8




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF FLORIDA
                                     GAINESVILLE DIVISION
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
SHARON WRIGHT AUSTIN, MICHAEL                                        :
MCDONALD, DANIEL A. SMITH, JEFFREY :
GOLDHAGEN, TERESA J. REID, and                                       :
KENNETH B. NUNN,                                                     : 1:21-cv-00184-MW-GRJ
                                                                     :
                               Plaintiffs,                           : Declaration of
                                                                     : Morgan A. Davis
         v.                                                          :
                                                                     :
UNIVERSITY OF FLORIDA BOARD OF                                       :
TRUSTEES, the public body corporate acting for :
and on behalf of the University of Florida; W.                       :
KENT FUCHS, in his official capacity as                              :
President of the University of Florida; JOSEPH :
GLOVER, in his official capacity as Provost of :
the University of Florida; and LAURA                                 :
ROSENBURY, in her official capacity as Dean of :
the Fredric G. Levin College of Law,                                 :
                                                                     :
                               Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

                DECLARATION OF MORGAN A. DAVIS

       I, Morgan A. Davis, declare as follows:

       1.     I am a member of the New York Bar and am associated with

the law firm of Debevoise & Plimpton LLP. I have been admitted to this

Court pro hac vice as counsel for Plaintiffs.




                                          1
  Case 1:21-cv-00184-MW-GRJ Document 31 Filed 12/03/21 Page 2 of 8




      2.       I make this declaration on personal knowledge and on the

record of this litigation in support of Plaintiffs’ Motion for a Preliminary

Injunction.

      3.       Attached as Exhibit 1 is a true and correct copy of an email

dated February 10, 2020 from Defendant Laura Rosenbury to the faculty of

the University of Florida Levin College of Law (the “Law School”).

      4.       Attached as Exhibit 2 is a true and correct copy of the

University of Florida’s Conflicts of Commitment and Conflicts of Interest

Policy, effective July 1, 2020.

      5.       Attached as Exhibit 3 is a true and correct copy of an email

dated July 1, 2020 from Professor Kenneth Nunn to approximately 28 other

Law School faculty members, including Professor Teresa Reid.

      6.       Attached as Exhibit 4 is a true and correct copy of an email

chain dated July 9 and 10, 2020 between Defendant Laura Rosenbury and

several Law School faculty members, including Professor Kenneth Nunn.

      7.       Attached as Exhibit 5 is a true and correct copy of a

notification dated July 12, 2020 from the UFOLIO system to Professor

Teresa Reid.




                                        2
  Case 1:21-cv-00184-MW-GRJ Document 31 Filed 12/03/21 Page 3 of 8




        8.    Attached as Exhibit 6 is a true and correct copy of a disclosure

in the UFOLIO system submitted by Professor Kenneth Nunn on July 14,

2020.

        9.    Attached as Exhibit 7 is a true and correct copy of a

notification dated July 14, 2020 from the UFOLIO system to Professor

Kenneth Nunn.

        10.   Attached as Exhibit 8 is a true and correct copy of the Amicus

Brief of 93 Professors of Law in Support of Plaintiffs-Appellees filed in

Jones et al. v. Desantis et al., Case No. 20-12003 (11th Cir.) on August 11,

2020.

        11.   Attached as Exhibit 9 is a true and correct copy of a UFOLIO

disclosure submitted by Professor Daniel Smith on June 4, 2021.

        12.   Attached as Exhibit 10 is a true and correct copy of a

notification dated July 7, 2021 from the UFOLIO system to Professor Daniel

Smith.

        13.   Attached as Exhibit 11 is a true and correct copy of a

notification dated August 12, 2021 from the UFOLIO system to Professor

Jeffrey Goldhagen.




                                       3
  Case 1:21-cv-00184-MW-GRJ Document 31 Filed 12/03/21 Page 4 of 8




      14.   Attached as Exhibit 12 is a true and correct copy of a UFOLIO

disclosure submitted by Professor Daniel Smith on October 4, 2021.

      15.    Attached as Exhibit 13 is a true and correct copy of the status

of Professor Daniel Smith’s UFOLIO application stating that the application

was disapproved on October 11, 2021.

      16.   Attached as Exhibit 14 is a true and correct copy of a

notification dated October 13, 2021 from the UFOLIO system to Professor

Michael McDonald.

      17.   Attached as Exhibit 15 is a true and correct copy of a

notification dated October 15, 2021 from the UFOLIO system to Professor

Sharon Austin.

      18.   Attached as Exhibit 16 is a true and correct copy of a statement

titled “University Statement on Academic Freedom and Free Speech”

published on the University of Florida’s website on October 30, 2021.

      19.   Attached as Exhibit 17 is a true and correct copy of a statement

titled “Message from President Fuchs and Provost Glover” published on the

University of Florida’s website on November 1, 2021.

      20.   Attached as Exhibit 18 is a true and correct copy of an email




                                     4
  Case 1:21-cv-00184-MW-GRJ Document 31 Filed 12/03/21 Page 5 of 8




dated November 1, 2021 from Ryan Fuller to Plaintiffs’ counsel.

      21.    Attached as Exhibit 19 is a true and correct copy of an email

from Mae Quinn dated November 3, 2021 that was addressed to

“Colleagues” and was received by Professor Kenneth Nunn.

      22.    Attached as Exhibit 20 is a true and correct copy of the status

of Professor Michael McDonald’s UFOLIO disclosure stating that the

disclosure was approved on November 5, 2021.

      23.    Attached as Exhibit 21 is a true and correct copy of a statement

titled “Message from President Fuchs – Outside Activities by UF Employees

Involving Litigation in Which the State of Florida Is a Party,” published on

the University of Florida’s website on November 5, 2021.

      24.    Attached as Exhibit 22 is a true and correct copy of a

notification dated November 5, 2021 at 8:01 p.m. from the UFOLIO system

to Professor Daniel Smith.

      25.    Attached as Exhibit 23 is a true and correct copy of a

notification dated November 5, 2021 at 12:51 p.m. from the UFOLIO

system to Professor Daniel Smith.

      26.    Attached as Exhibit 24 is a true and correct copy of a letter




                                      5
  Case 1:21-cv-00184-MW-GRJ Document 31 Filed 12/03/21 Page 6 of 8




dated August 12, 2021 from David E. Richardson to Professor Daniel Smith

setting forth Professor Smith’s annual evaluation for the 2020-2021

academic year.

      27.   Attached as Exhibit 25 is a true and correct copy of an email

dated July 13, 2020 from Professor Kenneth Nunn that was addressed to

“Colleagues” and received by Professor Teresa Reid.

      28.   Attached as Exhibit 26 is a true and correct copy of a UFOLIO

notification dated November 5, 2021 to Professor Jeffrey Goldhagen.

      29.   Attached as Exhibit 27 is a true and correct copy of an email

chain dated November 6–7, 2021 between Mae Quinn and Professor

Kenneth Nunn.

      30.   Attached as Exhibit 28 is a true and correct copy of an article

titled “Three Professors Join Suit against UF, Saying They Were Barred in

Cases against State,” written by Jimena Tavel and published by The Miami

Herald on November 16, 2021.

      31.   Attached as Exhibit 29 is a true and correct copy of the “Task

Force on Outside Activities Final Report” dated November 22, 2021.

      32.   Attached as Exhibit 30 is a true and correct copy of a statement




                                     6
  Case 1:21-cv-00184-MW-GRJ Document 31 Filed 12/03/21 Page 7 of 8




titled “Message from President Fuchs – Outside Activities by UF Employees

Involving Litigation in Which the State of Florida Is a Party,” published on

the University of Florida’s website on November 23, 2021.

      33.    Attached as Exhibit 31 is a true and correct copy of the

“Special Report on Comprehensive Standards 4.2.f (External Influence) and

6.4 (Academic Freedom)” published by the University of Florida on

November 23, 2021.

      34.    Attached as Exhibit 32 is a true and correct copy of an article

titled “UF Task Force Recommends High Bar for Blocking Faculty from

Expert Testimony against State,” written by Danielle Ivanov and published

by The Gainesville Sun on November 23, 2021.

      35.    Attached as Exhibit 33 is a true and correct copy of the

University of Florida’s “Mission Statement” published on the University’s

website.

      36.    Attached as Exhibit 34 is a true and correct copy of a press

release titled “Florida Members of Congress Call on UF to Lift Gag on

Professors in Voting Rights Suit,” enclosing a letter from Florida’s

Democratic Congressional Delegation to Defendant W. Kent Fuchs, dated




                                      7
   Case 1:21-cv-00184-MW-GRJ Document 31 Filed 12/03/21 Page 8 of 8




November 2, 2021.

      37.   Attached as Exhibit 35 is a true and correct copy of an article

titled “‘I Think We’re in a Good Spot Now’: President Fuchs Addresses

Controversy after UF Professors Barred from Testifying against State,”

written by Camille Syed and published by WCJB on November 29, 2021.

      38.   Attached as Exhibit 36 is a true and correct copy of an email

exchange dated October 12, 2021 between Dean David E. Richardson and

Professor Daniel Smith.



      I declare under penalty of perjury that the foregoing is true and

correct.

      Executed at New York, New York on this 3rd day of December 2021.



                                        /s/ Morgan A. Davis
                                       Morgan A. Davis




                                      8
